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 7
 8
                                UNITED STATES DISTRICT COURT
 9                             CENTRAL DISTRICT OF CALIFORNIA
10
11      Edgardo Carrillo,                       Case No.

12                Plaintiff,
                                                Complaint For Damages And
13        v.                                    Injunctive Relief For Violations
                                                Of: Americans With Disabilities
14      Shewak & Lajwanti Holdings              Act; Unruh Civil Rights Act
        LLC, a California Limited Liability
15      Company;
        Apex Cabinet Depot Inc, a
16      California Corporation; and Does 1-
        10,
17
                  Defendants.
18
19
            Plaintiff Edgardo Carrillo complains of Shewak & Lajwanti Holdings
20
      LLC, a California Limited Liability Company; Apex Cabinet Depot Inc, a
21
      California Corporation; and Does 1-10 (“Defendants”), and alleges as follows:
22
23
24             PARTIES:

25      1. Plaintiff is a California resident with physical disabilities. He is

26    paralyzed and uses a wheelchair for mobility.

27      2. Defendant Shewak & Lajwanti Holdings LLC owned the real property

28    located at or about 5816 S. Boyle Avenue, Vernon, California, in June 2020.


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 1      3. Defendant Shewak & Lajwanti Holdings LLC owns the real property
 2    located at or about 5816 S. Boyle Avenue, Vernon, California, currently.
 3      4. Defendant Apex Cabinet Depot Inc owned Apex Kitchen Cabinet and
 4    Granite Countertop located at or about 5816 S. Boyle Avenue, Vernon,
 5    California, in June 2020.
 6      5. Defendant Apex Cabinet Depot Inc owns Apex Kitchen Cabinet and
 7    Granite Countertop (“Store”) located at or about 5816 S. Boyle Avenue,
 8    Vernon, California, currently.
 9      6. Plaintiff does not know the true names of Defendants, their business
10    capacities, their ownership connection to the property and business, or their
11    relative responsibilities in causing the access violations herein complained of,
12    and alleges a joint venture and common enterprise by all such Defendants.
13    Plaintiff is informed and believes that each of the Defendants herein,
14    including Does 1 through 10, inclusive, is responsible in some capacity for the
15    events herein alleged, or is a necessary party for obtaining appropriate relief.
16    Plaintiff will seek leave to amend when the true names, capacities,
17    connections, and responsibilities of the Defendants and Does 1 through 10,
18    inclusive, are ascertained.
19
20      JURISDICTION & VENUE:
21      7. The Court has subject matter jurisdiction over the action pursuant to 28
22    U.S.C. § 1331 and § 1343(a)(3) & (a)(4) for violations of the Americans with
23    Disabilities Act of 1990, 42 U.S.C. § 12101, et seq.
24      8. Pursuant to supplemental jurisdiction, an attendant and related cause
25    of action, arising from the same nucleus of operative facts and arising out of
26    the same transactions, is also brought under California’s Unruh Civil Rights
27    Act, which act expressly incorporates the Americans with Disabilities Act.
28      9. Venue is proper in this court pursuant to 28 U.S.C. § 1391(b) and is


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 1    founded on the fact that the real property which is the subject of this action is
 2    located in this district and that Plaintiff's cause of action arose in this district.
 3      FACTUAL ALLEGATIONS:
 4      10. Plaintiff went to the Store in June 2020 with the intention to avail
 5    himself of its goods, motivated in part to determine if the defendants comply
 6    with the disability access laws.
 7      11. The Store is a facility open to the public, a place of public
 8    accommodation, and a business establishment.
 9      12. Unfortunately, on the date of the plaintiff’s visit, the defendants failed
10    to provide wheelchair accessible parking in conformance with the ADA
11    Standards as it relates to wheelchair users like the plaintiff.
12      13. On information and belief, the defendants currently fail to provide
13    wheelchair accessible parking.
14      14. These barriers relate to and impact the plaintiff’s disability. Plaintiff
15    personally encountered these barriers.
16      15. As a wheelchair user, the plaintiff benefits from and is entitled to use
17    wheelchair accessible facilities. By failing to provide accessible facilities, the
18    defendants denied the plaintiff full and equal access.
19      16. The failure to provide accessible facilities created difficulty and
20    discomfort for the Plaintiff.
21      17. Even though the plaintiff did not confront the barrier, on information
22    and belief the defendants currently fail to provide wheelchair accessible
23    restrooms. Plaintiff seeks to have these barriers removed as they relate to and
24    impact his disability.
25      18. The defendants have failed to maintain in working and useable
26    conditions those features required to provide ready access to persons with
27    disabilities.
28      19. The barriers identified above are easily removed without much


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 1    difficulty or expense. They are the types of barriers identified by the
 2    Department of Justice as presumably readily achievable to remove and, in fact,
 3    these barriers are readily achievable to remove. Moreover, there are numerous
 4    alternative accommodations that could be made to provide a greater level of
 5    access if complete removal were not achievable.
 6      20. Plaintiff will return to the Store to avail himself of its goods and to
 7    determine compliance with the disability access laws once it is represented to
 8    him that the Store and its facilities are accessible. Plaintiff is currently deterred
 9    from doing so because of his knowledge of the existing barriers and his
10    uncertainty about the existence of yet other barriers on the site. If the barriers
11    are not removed, the plaintiff will face unlawful and discriminatory barriers
12    again.
13      21. Given the obvious and blatant nature of the barriers and violations
14    alleged herein, the plaintiff alleges, on information and belief, that there are
15    other violations and barriers on the site that relate to his disability. Plaintiff will
16    amend the complaint, to provide proper notice regarding the scope of this
17    lawsuit, once he conducts a site inspection. However, please be on notice that
18    the plaintiff seeks to have all barriers related to his disability remedied. See
19    Doran v. 7-11, 524 F.3d 1034 (9th Cir. 2008) (holding that once a plaintiff
20    encounters one barrier at a site, he can sue to have all barriers that relate to his
21    disability removed regardless of whether he personally encountered them).
22
23    I. FIRST CAUSE OF ACTION: VIOLATION OF THE AMERICANS
24    WITH DISABILITIES ACT OF 1990 (On behalf of Plaintiff and against all
25    Defendants.) (42 U.S.C. section 12101, et seq.)
26      22. Plaintiff re-pleads and incorporates by reference, as if fully set forth
27    again herein, the allegations contained in all prior paragraphs of this
28    complaint.


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 1      23. Under the ADA, it is an act of discrimination to fail to ensure that the
 2    privileges, advantages, accommodations, facilities, goods and services of any
 3    place of public accommodation is offered on a full and equal basis by anyone
 4    who owns, leases, or operates a place of public accommodation. See 42 U.S.C.
 5    § 12182(a). Discrimination is defined, inter alia, as follows:
 6             a. A failure to make reasonable modifications in policies, practices,
 7                or procedures, when such modifications are necessary to afford
 8                goods,      services,   facilities,   privileges,    advantages,   or
 9                accommodations to individuals with disabilities, unless the
10                accommodation would work a fundamental alteration of those
11                services and facilities. 42 U.S.C. § 12182(b)(2)(A)(ii).
12             b. A failure to remove architectural barriers where such removal is
13                readily achievable. 42 U.S.C. § 12182(b)(2)(A)(iv). Barriers are
14                defined by reference to the ADA Standards.
15             c. A failure to make alterations in such a manner that, to the
16                maximum extent feasible, the altered portions of the facility are
17                readily accessible to and usable by individuals with disabilities,
18                including individuals who use wheelchairs or to ensure that, to the
19                maximum extent feasible, the path of travel to the altered area and
20                the bathrooms, telephones, and drinking fountains serving the
21                altered area, are readily accessible to and usable by individuals
22                with disabilities. 42 U.S.C. § 12183(a)(2).
23      24. When a business provides parking for its customers, it must provide
24    accessible parking.
25      25. Here, accessible parking has not been provided in conformance with the
26    ADA Standards.
27      26. When a business provides facilities such as restrooms, it must provide
28    accessible restrooms.


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 1      27. Here, accessible restrooms have not been provided in conformance with
 2    the ADA Standards.
 3      28. The Safe Harbor provisions of the 2010 Standards are not applicable
 4    here because the conditions challenged in this lawsuit do not comply with the
 5    1991 Standards.
 6      29. A public accommodation must maintain in operable working condition
 7    those features of its facilities and equipment that are required to be readily
 8    accessible to and usable by persons with disabilities. 28 C.F.R. § 36.211(a).
 9      30. Here, the failure to ensure that the accessible facilities were available
10    and ready to be used by the plaintiff is a violation of the law.
11
12    II. SECOND CAUSE OF ACTION: VIOLATION OF THE UNRUH CIVIL
13    RIGHTS ACT (On behalf of Plaintiff and against all Defendants.) (Cal. Civ.
14    Code § 51-53.)
15      31. Plaintiff repleads and incorporates by reference, as if fully set forth
16    again herein, the allegations contained in all prior paragraphs of this
17    complaint. The Unruh Civil Rights Act (“Unruh Act”) guarantees, inter alia,
18    that persons with disabilities are entitled to full and equal accommodations,
19    advantages, facilities, privileges, or services in all business establishment of
20    every kind whatsoever within the jurisdiction of the State of California. Cal.
21    Civ. Code §51(b).
22      32. The Unruh Act provides that a violation of the ADA is a violation of the
23    Unruh Act. Cal. Civ. Code, § 51(f).
24      33. Defendants’ acts and omissions, as herein alleged, have violated the
25    Unruh Act by, inter alia, denying, or aiding, or inciting the denial of, Plaintiff’s
26    rights to full and equal use of the accommodations, advantages, facilities,
27    privileges, or services offered.
28      34. Because the violation of the Unruh Civil Rights Act resulted in difficulty,


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 1    discomfort or embarrassment for the plaintiff, the defendants are also each
 2    responsible for statutory damages, i.e., a civil penalty. (Civ. Code § 55.56(a)-
 3    (c).)
 4
 5              PRAYER:
 6              Wherefore, Plaintiff prays that this Court award damages and provide
 7    relief as follows:
 8            1. For injunctive relief, compelling Defendants to comply with the
 9    Americans with Disabilities Act and the Unruh Civil Rights Act. Note: the
10    plaintiff is not invoking section 55 of the California Civil Code and is not
11    seeking injunctive relief under the Disabled Persons Act at all.
12            2. Damages under the Unruh Civil Rights Act, which provides for actual
13    damages and a statutory minimum of $4,000 for each offense.
14            3. Reasonable attorney fees, litigation expenses and costs of suit, pursuant
15    to 42 U.S.C. § 12205; and Cal. Civ. Code §§ 52.
16
      Dated: July 26, 2020                 CENTER FOR DISABILITY ACCESS
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18
                                           By:
19
20                                         ________________________
21                                                Russell Handy, Esq.
22                                                Attorney for plaintiff

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